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                                                                                                                                   J



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                            24-cr-80007-Middlebrooks/Matthewman
                               CASE NO . ....,...,...,,,.,,....,,.....,,,........,,....,,..,,,..,,..,...,....------
                                          18 U.S.C. § 875(c)
                                          18 U.S.C. § 981(a)(l)(C)


   UNITED STATES OF AMERICA

   vs.

   MICHAEL SHAPIRO,
                                                                                                           JAN 18 2024
                 Defendant.                                                                                 ANGELA E. NOBLE
   _____________/                                                                                          CLERK U.S. DIST. CT.
                                                                                                           S.D. OF FLA. - W.P.B.

                                                   INDICTMENT

            The Grand Jury charges that:

            On or abo ut December 19, 2023 , in Palm Beach County, in th e Southern District of Florida,

   and elsewhere, the defendant,

                                              MICHAEL SHAPIRO,

   did knowingly transmit in interstate commerce a communicati on containing any threat to inj ure

   the person of another, that is, Victim I , in that in a record ed voicemail left for Victim 1, he stated

    in part, "Hey mother-[expleti ve], you [expletive] a Chinese spy. Yo u mother-[expletive], I'm gonna

   come after you and kill yo u [expletive]" and "Hey greaseball, yo u [expletive] a [expletive] Ch inese

   spy . Fang Fang. Fang Fang. I'm gonna come and kill yo ur children yo u mother-[expleti ve]. I'm

   gonna ki ll yo ur child re n," w ith the intent to communicate a threat and w ith the knowledge that it

   wo uld be viewed as a threat, in vio lati on of T itle 18, United States Code, Section 875(c).

                                       FORFEITURE ALLEGATIONS

            1.      The allegati ons of this Indi ctment are hereby re-alleged and by this reference fu lly

    inco rporated herein fo r the purpose of all eging fo rfe iture to the United States of Ame ri ca of certain

    property in which the defendant, MICHAEL SHAPIRO, has an interest.
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           2.      Upon conviction of a violation of Title 18, United States Code, Section 875(c), as

    alleged in this Indictment, the defendant shall forfeit to the United States any property, real or

   personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title

    18, United States Code, Section 981 (a)( I )(C).

           All pursuant to Title 18, United States Code, Section 98l(a)(l)(C) and the procedures set

    forth in Title 21 , United States Code, Section 853 , as incorporated by Title 28, United States Code,

   Section 246l(c).




                       TED STATES ~         ORNEY
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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                     24-cr-80007-Middlebrooks/Matthewman
                                                                   CASE NO.: - ----------------
v.
                                                                   CERTIFICATE OF TRIAL ATTORNEY
MICHAEL SHAPIRO,
_ _ _ _ _ _ _D_e_fi~e-nd_a_n_t__- - - -I                           Superseding Case Information:
                                                                   New Defe nd ant(s) (Yes or No)
                                                                                                  ---
Court Division (select o ne)                                       N umber of New Defendants
   □ Miami        □ Key West                   □ FTP               Total number of co unts
   □ FTL          ~ WPB

I do hereby certify that:
   1.   l have carefull y considered the allegations of the indi ctm ent, the number of defendants, the number of probab le
        witnesses and the legal comp lexiti es of the Indictment/lnformation attached hereto.
  2.    I am aware that the infor mation suppli ed on thi s statement will be rel ied upon by th e Judges of this Court in setting
        their calendars and scheduling criminal tri als un der the mandate of the Speedy Tri al Act, Title 28 U.S.C. §3 161.

     3.     Interpreter: (Yes or No) No
                                     ---
            List language and/or dialect:
                                          -------
     4.     This case wi ll take~ days fo r th e parties to try.

     5.     Please c heck appropriate catego ry a nd ty pe of offense listed be low:
            (Check on ly o ne)                          (Check only one)
            I     ~0 to 5 days                        □ Petty
            II □ 6 to 10 days                         D Minor
            III D 11 to 20 days                       D Misdemeanor
            IV D 2 1 to 60 days                       D Felony
            V D 6 1 days and over

     6.     Has this case been previous ly fi led in thi s Di stri ct Co uti? (Yes or No) N_o_ _
            If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.     Has a complaint been fi led in this matter? (Yes or No) Yes
                                                                                                              ---
            If yes, Magistrate Case No. _2_3-_m~j~--86_2_3_ _ _ _ _ _ __
     8.     Does this case relate to a previously fi led matte r in thi s District Co urt? (Yes or No) _N_o_ _
            If yes, Judge _ _ _ _ _ _ _ _ _ _ Case No . _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.     Defendant( s) in fe deral custody as of . . .,Re...,!
                                                           . ,. e. ,a. . ,_s""ed.. . .,. o. _.n_._b'"'"o"'"n,.d.__
                                                                                                              ,., _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10.    Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     11 .   Rule 20 from the _ _ _ _ District of - - - - - - -
     12.    Is this a pote nti a l death penalty case? (Yes orNo)N                              __o_ _
     13.    Does this case originate from a matte r pe ndin g in th e Northe rn Region of the U.S. Attorney ' s Office
            prior to August 8, 20 14 (Mag. Jud ge Sha ni ek M ay na rd ? (Yes or No) No
                                                                                                                          ---
     14.    Does thi s case ori g inate from a matte r pending in the Ce ntral Region of the U.S. Attorney 's Office
            prior to October 3, 20 19 (Mag. Judge Jared Strauss? (Yes or No) -                                         No- -
     15.    Did this matter involve the partic ipati on of or co nsultat ion w ith now Magistrate Judge Ed uard o I. Sanchez
            during hi s tenure at the U.S. Attorney ' s Office, w hich co nc luded on January 22, 2023? N_o_ _


                                                                   By:
                                                                            MA RK DI S POTO
                                                                            Ass istant United States Attorney
                                                                            Cowi ID No.          A55 01 l 43
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENAL TY SHEET
   24-cr-80007-Middlebrooks/Matthewman
   Defendant' s Name: MICHAEL SHAPIRO

             Making a Co mmunication in Interstate Com merce th at Contai ned a Threat to Injure

             Title 18, United States Code, Section 875(c)

   *Max. Penalty:       5 years ' impri sonment; 3 years superv ised release; $250,000 fine




   *Refers only to possib le term of incarceration , supervised release and fin e. It does not
   include possible restitution , special assessments, parole terms, or forfeitures that may be
   applicable.
